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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )   Chapter 11
                                                             )
    PERFORMANCE POWERSPORTS GROUP                            )   Case No. 23-10047 (LSS)
    INVESTORS, LLC, et al., 1                                )
                                                             )
                                      Debtors.               )   Obj. Deadline: September 27, 2023 at 4:00 p.m.
                                                             )   Hearing Date: October 4, 2023 at 10:00 a.m.

    NOTICE OF DEBTORS’ MOTION FOR ENTRY OF AN ORDER AUTHORIZING
     (A) TEMPORARY ALLOWANCE OF CLAIM FOR VOTING PURPOSES AND (B)
    AMENDMENT OF PLAN VOTE AMOUNT PURSUANT TO BANKRUPTCY RULE 3018

             PLEASE TAKE NOTICE THAT on September 15, 2023, the above-captioned debtors

and debtors-in-possession (the “Debtors”), filed the Debtors’ Motion for Entry of an Order

Authorizing (A) Temporary Allowance of Claim for Voting Purposes and (B) Amendment of Plan

Vote Amount Pursuant to Bankruptcy Rule 3018 (the “Motion”) with the United States Bankruptcy

Court for the District of Delaware (“Bankruptcy Court”).

             PLEASE TAKE FURTHER NOTICE that any responses to the Motion must be in

writing and filed with the Clerk of the United States Bankruptcy Court for the District of Delaware,

824 Market Street, Third Floor, Wilmington, Delaware 19801, and served upon the undersigned,

so as to be received on or before 4:00 p.m. on September 27, 2023.

             PLEASE TAKE FURTHER NOTICE that if you fail to respond in accordance with this

Notice, the Court may grant the relief demanded by the application without further notice or

hearing.


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      The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal
      tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
      Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
      Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
      University Drive, Tempe, Arizona 85281.
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       PLEASE TAKE FURTHER NOTICE that if an objection is properly filed and served in

accordance with the above procedure, a hearing will be held on October 4, 2023 at 10:00 a.m.

before the Honorable Chief Judge Laurie Selber Silverstein, United States Bankruptcy Judge for

the District of Delaware, 824 North Market Street, 6th Floor, Court Room #2, Wilmington,

Delaware 19801. Only objections made in writing and timely filed will be considered by the

Bankruptcy Court at such hearing only objections made in writing and timely filed will be

considered by the Bankruptcy Court at such hearing.

Dated: September 15, 2023               /s/ Domenic E. Pacitti
Wilmington, Delaware                   Domenic E. Pacitti (DE Bar No. 3989)
                                       Michael W. Yurkewicz (DE Bar No. 4165)
                                       Sally E. Veghte (DE Bar No. 4762)
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                                       Counsel for the Debtors and Debtors in Possession
